  8:15-cr-00101-JFB-FG3             Doc # 78   Filed: 01/20/16    Page 1 of 1 - Page ID # 94




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                      Plaintiffs,                                    8:15CR101

       vs.
                                                                       ORDER
EZEQUIEL ZAVALA,

                      Defendant.

     UPON THE MOTION OF THE DEFENDANT, (#77) and no objection from the
government,

     IT IS ORDERED:

     1. The Motion to Continue (#77) is granted.

     2. The Change of Plea hearing is continued to February 18, 2016 at 1:30 p.m. before
Magistrate Judge F.A. Gossett, Courtroom No. 6, Second Floor, Roman L. Hruska U.S.
Courthouse, 111 So. 18th Plaza, Omaha, Nebraska.

      3. For this defendant, the time between January 19, 2016 and the hearing on the
anticipated plea of guilty is excluded for purposes of computing the limits under the Speedy Trial
Act. See 18 U.S.C. § 3161(h)(1)(I)&(h)(8)(A)(B).

     4. No further continuances will be granted, absent unusual circumstances.

     5. Since this is a criminal case, the defendant must be present, unless excused by the
Court.


       Dated this 20th day of January, 2016

                                                     BY THE COURT:
                                                     s/ F.A. Gossett, III
                                                     United States Magistrate Judge
